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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                              :              CHAPTER 7
                                                    :
BOBBY MANALCUS WILBANKS,                            :              CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                               :
                                                    :
         Debtors.                                   :


  MOTION FOR APPROVAL OF SETTLEMENT OF PRODUCT LIABILITY CLAIM
UNDER RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
   REQUEST TO MAKE CERTAIN PAYMENTS IN ACCORDANCE WITH SAME

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estates

(collectively, the “Bankruptcy Estate”) of Bobby Manalcus Wilbanks and Kimberly Ann Wilbanks

(collectively, “Debtors”), by and through undersigned counsel, and files this Motion for Approval

of Settlement of Product Liability Claim under Rule 9019 of the Federal Rules of Bankruptcy

Procedure and Request to Make Certain Payments in Accordance with Same (the “Motion”), and

respectfully shows this Court the following:

                                     Jurisdiction and Venue

       1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409(a).

                                           Background

                                      a. General Background

       2.    On January 12, 2010 (“Petition Date”), Debtors filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, and initiated Case No. 10-60990-WLH (the

“Bankruptcy Case”). On May 20, 2010, the Court entered an Order Discharging Chapter 7


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Debtors. [Doc. No. 19]. On September 6, 2013, the Court entered an Order Discharging Debtors and

Closing Estate. [Doc No. 51]. Barbara B. Stalzer was appointed to the Bankruptcy Case as the

interim Chapter 7 trustee on or about the Petition Date, under 11 U.S.C. § 701(a)(1).

       3.    On June 14, 2018, the United States Trustee filed a motion to reopen the Bankruptcy

Case so that an unscheduled product liability claim of Mr. & Mrs. Wilbanks related to the implant

of a medical device in Mrs. Wilbanks (the “Claim”) could be administered for the benefit of

Debtors’ creditors [Doc No. 53]. On June 18, 2018, the Court entered an order reopening the case.

[Doc. No. 57].

       4.    On June 26, 2018, Trustee was appointed as successor Chapter 7 Trustee and remains

in that role. [Doc No. 59].

       5.    On July 20, 2018, after the Court reopened the Bankruptcy Case, Debtors scheduled

the Claim in the amounts of $80,000.00 and $13,000.00 as joint property of both Debtors. [Doc.

No 61 at page 3 of 8]. Upon information and belief, Mrs. Wilbanks and Mr. Wilbanks were both

named plaintiffs in the civil Complaint and are both owners of the Claim.

       6.    On August 10, 2018, Trustee filed his Application to Appoint Attorney for Trustee

[Doc. No. 62], and the Court entered an Order [Doc. No. 63] on August 15, 2018 appointing Arnall

Golden Gregory LLP as attorneys for Trustee.

                                          b. The Claim

       7.    At the commencement of the Bankruptcy Case, bankruptcy estates were created for

each of Debtors under 11 U.S.C. § 541(a) (collectively, the “Bankruptcy Estate”), and that

Bankruptcy Estate includes all Debtors’ legal or equitable interests in property as of the

commencement of the Bankruptcy Case and any interest in property acquired after commencement

of the case. 11 U.S.C. § 541(a)(1) and (7) (2016).

       8.    The Claim is property of the Bankruptcy Estate.
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       9.    On January 10, 2020, Trustee filed his Application to Employ Ford & Associates

Nationwide Legal Services, APC, Goldwater Law Firm, And Bertram & Graf, LLC As Special

Counsel For Trustee [Doc. No. 71], and the Court entered an Order [Doc. No. 72] on January 15,

2020 authorizing the retention of Ford & Associates Nationwide Legal Services, APC (“Ford”),

Goldwater Law Firm (“Goldwater”), and Bertram & Graf, LLC (“B&G”, together with Ford and

Goldwater, “Special Counsel”) as special counsel for Trustee.

                                    c. The Proposed Settlement

       10.   Following negotiations, and subject to the approval of this Court, the Claim has been

settled (the “Settlement”).

       11.   An offer has been made to settle the Claim for a total gross settlement amount of

$80,000.00 ("Gross Settlement Amount").

       12.   The aggregate settlement funds are currently held in a settlement trust, which includes

the funds of the Claim. The trust has been approved as a Qualified Settlement Fund (“QSF”) by

the Settlement Court, which retains continuing jurisdiction over the QSF, including all payments

from the settlement trust. The Trustee of the QSF (the “Settlement Fund Trustee”) has been

approved to oversee the distribution of funds from the QSF and all payments from the QSF shall

be made by the Settlement Fund Trustee.

       13.   In accordance with the terms of the Settlement Agreement, a portion of the Settlement

Award will be used to satisfy all medical claims related to or arising from the Incident. Pending

the Court’s approval, the holders of these claims, Medicare, GA Medicaid, Humana (PLRP),

Anthem Blue Cross Blue Shield, United Healthcare (PLRP), Principal Financial (collectively, the

“Medical Lien Holders”), have agreed to certain reductions in the amounts owed to satisfy their

claims or demands related to or arising from the Claim. These reductions are set forth in the

settlement statement attached hereto and incorporated herein by reference as Exhibit “A” (the
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“Settlement Statement”). Certain fees, costs and expenses under the settlement must be paid

and/or withheld by the Settlement Fund Trustee and paid to the appropriate recipients. If awarded

by the Court,1 Special Counsel will be paid fees in the amount of $29,901.76 (or 40% of the gross

settlement amount of $80,000, less costs) and reimbursement of expenses in the amount of

$541.52. If approved by the Court, the Medical Lien Holders will be paid a total of $1,919.80. If

approved by the Court, the QSF Administrative Expenses will be paid in the amount of $1,404.08

pursuant to the court-ordered QSF administration. If approved by the Court, $4,000 (2.00% of

gross Settlement amount deducted from Special Counsel’s fee and 3.00% of gross Settlement

amount deducted from the Settlement amount) will be paid pursuant to the court-ordered

multidistrict litigation assessment.2 Upon the terms of the settlement being satisfied, and the fees,

costs and expenses set forth above being paid by the Settlement Fund Trustee, the net remaining

balance of the settlement proceeds, in the anticipated amount of $42,232.84 (the “Net Proceeds”),

shall be authorized to be distributed by the Settlement Fund Trustee to the Trustee.

       14.    As a result, the Bankruptcy Estate will have available for distribution under 11 U.S.C.

§ 726 the remaining $42,232.84, calculated as follows:

                                       Gross Settlement                                 $80,000.00

                            Satisfaction of Medical Liens                 $1,919.80
                                      MDL Fee                             $4,000.00
                           Special Counsel Attorney’s Fees               $29,901.76
             Case Expenses (Special Counsel and Administrative Expenses) $1,945.60

                                         Net to Estate                                  $42,232.84




1
        Contemporaneously with the filing of this Motion, Trustee has filed an application to approve the fees and
expenses of Special Counsel.
2
        This fee is further explained in the Settlement Statement attached hereto as Exhibit “A”.


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                                            Relief Requested

       15.     Trustee requests an order from the Court approving the Settlement and authorizing

Trustee to settle the interest of the Estate in the Claim under the terms set forth herein.

       16.     Trustee requests authority for the Settlement Fund Trustee, on behalf of the Trustee or

as a constructive distribution under 11 U.S.C. §326, to pay the above noted fees and costs,

including the medical liens at the reduced amounts set forth in the attached Exhibit “A.”

                                        Basis for Relief Requested

       17.     Rule 9019(a) of the Bankruptcy Rules provides, in pertinent part: “On motion by the

trustee and after notice and a hearing, the court may approve a compromise or settlement.” Fed.

R. Bankr. P. 9019.

       18.     The standard in the Eleventh Circuit for determining whether to approve a

compromise or settlement pursuant to Rule 9019(a) is articulated in Wallis v. Justice Oaks II, Ltd.

(In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990):

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

                 (a) The probability of success in the litigation; (b) the difficulties, if
                 any, to be encountered in the matter of collection; (c) the complexity
                 of the litigation involved, and the expense, inconvenience and delay
                 necessarily attending it; (d) the paramount interest of the creditors
                 and a proper deference to their reasonable views in the premises.

Id. at 1549.

       19.     Under the standard set forth above, Trustee believes that the Court should grant the

Motion and approve the Settlement.

       20.     Trustee asserts that the terms of the Settlement fall well within the range of

reasonableness for a settlement of this matter and will meaningfully benefit the Debtors’




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Bankruptcy Estate and its creditors, and therefore respectfully requests that the Court grant the

Motion.

        WHEREFORE, having filed the Motion, Trustee prays that the Court grant the Motion,

approve the Settlement, authorize Trustee, through the Settlement Fund Trustee, to make the payments

requested herein, and grant Trustee such other and further relief as it deems just and proper.

        Respectfully submitted this 2nd day of February, 2021.

                                               ARNALL GOLDEN GREGORY LLP
                                               Attorneys for Trustee

                                               By:/s/ Michael J. Bargar
                                                  Michael J. Bargar
                                                  Ga. Bar No. 645709

                                               Arnall Golden Gregory, LLP
                                               171 17th Street, NW, Suite 2100
                                               Atlanta, Georgia 30363-1031
                                               Phone: (404) 873-8500/Fax: (404) 873-8501
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                             EXHIBIT “A” FOLLOWS




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                                                        SETTLEMENT LEDGER

                 Kimberly Wilbanks                                             Claimant ID#: BTGETA11366
                 943 Lake Stone Lea Drive                                   Net Amount Due: $42,232.84
                 Oxford, GA 30054                                                      Date: August 30, 2019

     Settlement Allocation                                                                                                             $80,000.00

     Court-Ordered MDL Assessment ¹
     2.00% of gross deducted from Attorneys' Fees                                                                              ($1,600.00)
     3.00% of gross deducted from Claimant Net                                                                                 ($2,400.00)
                                                                                                                     Total MDL ($4,000.00)
     Attorneys' Fees
     Contingency Fee Contract Rate: 40.00% minus MDL Assessment

     Detailed Accounting by Law Firm:
     Bertram & Graf, LLC
     Ford & Associates                                                                       Detailed Accounting by La                    Detailed
     Goldwater Law Firm
     (attorneys' fees deducted after expenses per contract)                                          Total Attorneys' Fees ($29,901.76)
     Medical Liens
     Medicare                                                                            Lien Resolved To:                    $0.00
     GA Medicaid                                                                         Lien Resolved To:                    $0.00
     Humana (PLRP)                                                                       Lien Resolved To:              ($1,919.80)
     Anthem Blue Cross Blue Shield                                                       Lien Resolved To:                    $0.00
     United Healthcare (PLRP)                                                            Lien Resolved To:                    $0.00
     Principal Financial                                                                 Lien Resolved To:                    $0.00
                                                                                                    Total Medical Liens ($1,919.80)
     Case Expenses (See attached accounting)
     Administrative Expenses                                                                                                ($1,404.08)
     General and Case-specific Expenses                                                                                       ($541.52)
                                                                                                       Total Case Expenses: ($1,945.60)
     Case Advances

                                                                                                            Total Case Advances: ($0.00)


     Net Allocation Amount Due To Claimant                                                                                             $42,232.84
     ¹ This assessment is required by Case Management Order No. 62 (“Establishing Common Benefit Fee and Expense Fund”) issued on August
     26, 2013, by Judge Joseph R. Goodwin of the United States District Court for the Southern District of West Virginia in In re:
     Repair System Products Liability Litigation (MDL No. 2327). Pursuant to that Order, these funds will be paid to the court-appointed Common
     Benefit Attorneys who organized the discovery portion of the nationwide litigation to reimburse them for their incurred expenses and their time.




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*BTGETA11366*                                                                                                           *CS-3*
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                                             Administrative Expenses
    Lien Resolution Fee                                                                           ($125.00)
    Qualified Settlement Fund Administration Fees¹                                                ($572.00)
    Bankruptcy Coordination Fee                                                                   ($700.00)
    Postage                                                                                         ($6.35)
    Packet Cost                                                                                     ($0.73)
                                                                     Total Administrative Fees: ($1,404.08)




                                          Primary Counsel Expenses
    Please note that the expenses below were reported by your primary law firm, Bertram & Graf, LLC,
    to the Settlement Fund Trustee (The Settlement Alliance), which assumes no responsibility or liability
    for the accuracy or reasonableness of the expenses. For questions concerning the accounting below,
    please contact your primary law firm.


    Claimant Portion of Primary Firm General Expenses                                             ($541.52)

    Bertram & Graf Expenses                                                                           $0.00
                                                                  Total Primary Counsel Expenses: ($0.00)




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*BTGETA11366*                                                                         *CS-4*
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                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day served copy of the Motion for Approval of Settlement of

Product Liability Claim under Rule 9019 of the Federal Rules of Bankruptcy Procedure and Request

to Make Certain Payments in Accordance with Same by depositing in the United States mail a copy

of same in a properly addressed envelope with adequate postage affixed thereon to assure delivery to:

                                Office of the United States Trustee
                                362 Richard B. Russell Building
                                75 Ted Turner Drive, SW
                                Atlanta, GA 30303

                                S. Gregory Hays
                                Hays Financial Consulting, LLC
                                2964 Peachtree Road, Suite 555
                                Atlanta, GA 30305

                                Karen Scott Greene
                                Karen Scott Greene, PC
                                PO Box 390322
                                Snellville, GA 30039

                                Bobby Manalcus Wilbanks
                                426 Ellington Road
                                Oxford, GA 30054

                                Kimberly Ann Wilbanks
                                426 Ellington Road
                                Oxford, GA 30054




        This 2nd day of February, 2021.

                                                       /s/ Michael J. Bargar
                                                       Michael J. Bargar
                                                       Georgia Bar No. 645709




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